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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

   Civil Action No. 16-cv-2155-WJM-CBS

   RAYMOND LYALL, et al.,

                 Plaintiffs,

   v.

   CITY AND COUNTY OF DENVER,

   Defendant.


                    DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTION
                        TO AMEND THE FINAL PRETRIAL ORDER


          Pursuant to this Court’s Order (Doc. #188), Defendant City and County of Denver submits

   the following Response to Plaintiffs’ Motion to Amend the Final Pretrial Order (Doc. #187).

                                           INTRODUCTION

          Over Denver’s consistent objections, Plaintiffs have repeatedly added and removed dates

   from the roster of incidents allegedly supporting their claims in this case. [See Doc. #137, pp. 7-10

   & Doc. #138, p. 11 n.4 (objecting to new dates asserted at summary judgment); Doc. #175, p. 5

   (objecting to new dates asserted in Final Pretrial Order); Doc. #177, p. 3 (objecting during hearing);

   Doc #179 (at Court’s direction, moving for order on dates at issue).] Plaintiffs now seek to amend

   the Final Pretrial Order to add still another date: July 9, 2018. Because no “sweep” took place on

   that date, and because Plaintiffs cannot meet their burden to show manifest injustice sufficient to

   overcome the prejudice to Denver, the motion to amend should be denied.
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                                              ARGUMENT

   I.     No “Sweep” Occurred on July 9, 2018.

          Plaintiffs ground their motion on the allegation that “Denver conducted [a] sweep, which

   violated Plaintiff Class Member’s [sic] constitutional rights, on July 9, 2018,” specifically that “ten

   or more Denver officials trashed, on video, an entire shopping cart full of one of Plaintiff Class

   Members’ [sic] belongings.” [Doc. #187, p. 1.] Plaintiffs maintain that amendment is required so

   that they may present “the videographer who witnessed the sweep, and his video … at trial to

   prove Denver’s ongoing custom, policy, and practice of violating Plaintiffs’ constitutional rights.”

   Id. at 2. Plaintiffs’ arguments fail at the threshold, both factually and legally. The video does not

   depict what Plaintiffs claim; and this Court has already determined that what the video does

   depict—a regularly-scheduled sidewalk cleaning in the Triangle Park area—is not a “sweep” for

   purposes of this lawsuit.

          Plaintiffs assert that “[t]he July 9, 2018 sweep was conducted by 10 or more Denver

   officials.” Id. at 4. But this assertion finds little support in the video, which depicts only a single

   garbage truck, a six-person Denver Public Works crew, and one police officer. In the closing

   seconds of the video, a sidewalk cleaning vehicle can be seen in operation. The video does not

   depict the type of “mass sweep” which Plaintiffs challenge in this lawsuit. Instead, as Denver

   explained to Plaintiffs (and the public) at the time, 1 it shows a regularly-scheduled cleaning of the

   sidewalks in the Triangle Park area, near the Denver Rescue Mission and Samaritan House.

          Plaintiffs argue that “this incident falls squarely within Plaintiffs’ theory of the case,” but


   1
    See Chris Walker, “Did the City Violate Its Policy by Trashing Belongings of Homeless, As
   Seen in New Video?” Westword (July 10, 2018), available at https://perma.cc/97LP-VBDV.

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   that is incorrect. As they did on summary judgment, Plaintiffs here disregard their own Amended

   Complaint and the class definition approved by the Court. That definition, this Court said,

   represented “a very specific narrowing of the lawsuit to focus on Denver’s alleged large-scale

   efforts to break up homeless camps, to the exclusion of ‘innumerable’ smaller-scale alleged

   violations.” [Doc. #167, p. 6.] Accordingly, the Court held in its summary-judgment order that

   evidence of “regular sidewalk cleanings at Samaritan House” are not relevant to Plaintiffs’ class-

   wide claims, because such regular cleanings are not “remotely probative of whether mass sweeps

   take place.” Id. at 32.

           The video proffered by Plaintiffs does not depict “ten or more employees or agents.” It

   does not depict “an encampment of multiple homeless persons,” much less efforts “to clear away”

   such an encampment “by immediately seizing and discarding the property found there.” The video

   is not probative of Plaintiffs’ class-wide claims or the specific unconstitutional policy they allege

   against Denver. 2 It thus provides no basis for amendment of the pretrial order.

   II.     Plaintiffs Cannot Show Manifest Injustice

           In addition, amendment to the Final Pretrial Order is improper because any benefit to

   Plaintiffs is outweighed by the burden on Denver and the disruption to trial preparations. See

   Joseph Mfg. Co., Inc. v. Olympic Fire Corp., 986 F.2d 416, 420 (10th Cir. 1993) (“if modification


   2
     Plaintiffs assert that they “wish to introduce this probative evidence at trial … to prove Denver’s
   ongoing custom, policy, and practice of violating Plaintiffs’ constitutional rights.” [Doc. #187, p.
   2.] This overbroad definition of the policy at issue is precisely the error that the Court identified
   in its summary-judgment order: “according to Plaintiffs, the unconstitutional policy now at issue
   is Denver’s alleged de facto custom of generally disregarding homeless persons’ property rights…
   This is, of course, wrong on all counts.” [Doc. #167, p. 4.] Denver submits that this continuing
   error, and Plaintiffs’ resulting overbroad conception of what actions qualify as “sweeps,” is one
   root cause of Plaintiffs’ continually-shifting assertions of which dates and incidents are at issue in
   this case. [See Docs. #179, 186.]
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   [of the pretrial order] would place a great burden on the opposing party, then it may not be

   allowed.”). Plaintiffs concede that it is their burden to demonstrate manifest injustice under the

   factors set forth in Koch v. Koch Indus., Inc., 203 F.3d 1202, 1222 (10th Cir. 2000): (1) the

   prejudice and surprise to the opposing party; (2) the ability to cure the prejudice; (3) the extent to

   which amendment would disrupt the trial; and (4) bad faith or willfulness. [Doc. #179, pp. 8-9, 14,

   citing Koch, 203 F.3d at 1222 & Jacobsen v. Deseret Book Co., 287 F.3d 936, 953 (10th Cir.

   2002); Doc. #187, p.5.] But while they insist that “[a]bsent amendment to allow Plaintiffs to

   present evidence of this sweep at trial, Plaintiffs will suffer manifest injustice,” they never state

   precisely why, nor what injustice would result. [Doc. #187, p. 2.]

          Plaintiffs aver only that “they wish to include further evidence proving an issue: that

   Denver has a custom, policy, and practice of seizing, and destroying, Plaintiff Class Members’

   property without due process of law in violation of their constitutional rights.” Id. at 6. The Court

   has already determined that “there is abundant evidence, viewed in the light most favorable to

   Plaintiffs,” that mass sweeps took place, and that at least some of the allegations of unconstitutional

   conduct “are amply supported in the record when viewed in the light most favorable to Plaintiffs”

   [Doc. #167, p. 33.] Plaintiffs new evidence—even when viewed in the most favorable light—is

   thus merely cumulative. Plaintiffs admit as much, by emphasizing that they “do not include any

   new issue in their amendment.” [Doc. #187, p. 6.] It is unstated by Plaintiffs and unclear to Denver

   what injustice might result if Plaintiffs are not allowed to present the new video at trial: in short,

   there is little benefit to counterbalance the prejudice and disruption that would follow.




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             Most seriously, that prejudice includes a re-opening of discovery, and likely another round

   of summary judgment briefing. 3 To date, Plaintiffs have provided Denver with only the edited

   video clip publicly posted on the internet, and a barebones disclosure naming the “videographer.”

   Despite specific requests that would apply to this new evidence, Plaintiffs have not supplemented

   their discovery responses with any additional information. 4 Denver would at the very least require

   a deposition of the new witness, and in turn require Plaintiffs’ supplemental discovery responses

   to properly depose him. As Plaintiffs already concede, Denver would also be required to devote

   time and resources to investigation, including interviews of its own employees (Doc. #187, p. 6);

   Denver would also be obligated to supplement its own discovery responses with the resulting

   information, which would likely draw requests from Plaintiffs to depose the witnesses disclosed


   3
     This would be the third re-opening of discovery, each one caused by Plaintiffs’ untimely
   disclosures. [See Doc. #112; Doc. #177.]
   4
       The text of the relevant requests for production are:

             RFP #2: “Any and all written or recorded statements taken by you or on your behalf from
             any person claiming to have knowledge of the facts relevant to any of the allegations or
             claims set forth in your Amended Complaint (or any subsequent amendments thereto).”

             RFP #5: “Any and all documents, including, but not limited to, e-mails, text messages,
             social media or other electronic posts, notes, statements, summaries, diaries, memoranda,
             transcripts, recordings (audio and video) and/or other writings created by you or anyone
             acting on your behalf relating to, concerning, or evidencing the circumstances and factual
             allegations made in your Amended Complaint (or any subsequent amendments thereto),
             including but not limited to, all correspondence between you and any other person
             (excluding your attorneys). NOTE: This request is not seeking any information which is
             subject to attorney-client and/or work product privileges.”

             RFP #8: “All written communications between you and/or your representatives, including
             but not limited to your attorney(s) and Denver Homeless Out Loud.”

             (Denver notes that the internet video is watermarked with the DHOL logo and is posted
             on the YouTube “channel” of Get Loud magazine, a DHOL publication.)
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   by Denver. If, as Denver already expects, the events of July 9 do not qualify as a “sweep” as

   defined in this case, then Denver would need to move for summary judgment on that issue prior

   to trial. The near-inevitable result would be a delay in the trial currently set for March 18, 2019. 5

   Even if—especially if—the trial is not delayed, then the additional time and expense diverted to

   discovery and investigation of this new date will greatly prejudice Denver’s ability to adequately

   prepare its defense against the rest of Plaintiffs’ evidence and claims.

           The cases cited by Plaintiffs only emphasize this point: while approving amendment, in

   each case the court contemplated reopening discovery, continuing the trial, or both. See Rimbert

   v. Eli Lilly & Co., 647 F.3d 1247, 1254 (10th Cir. 2011) (“the single most important fact about the

   posture of Rimbert’s motion for a new scheduling order is that, at the time it was made, there was

   no longer any impending trial date”); Palace Exploration Co. v. Petroleum Dev. Co., 316 F.3d

   1110, 1118 (10th Cir. 2003) (Defendant “could have moved for a continuance”); Rush v. Speedway

   Buick Pontiac GMC, Inc., 525 F.Supp.2d 1265, 1280 (D. Kan. 2007) (inviting opposing party “to

   seek leave to conduct a round of expedited discovery”).

           In sum, Plaintiffs’ proposed amendment would substantially burden Denver and threaten

   the trial schedule, with very little countervailing benefit to Plaintiffs or to the full and fair litigation

   of their claims.

                                               CONCLUSION

           For all these reasons and the reasons set forth in its Motion for Order Regarding Dates and

   Incidents at Issue for Trial (Docs. #179, 186), Denver respectfully requests that the Court deny



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    While Plaintiffs repeatedly maintain that “there are almost nine months until the trial in this
   matter,” (see Doc. #187, pp. 3, 6, 7), their arithmetic is flawed. March 2019 is six months away.
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   Plaintiffs’ Motion to Amend the Final Pretrial Order.

         DATED this 18th day of September 2018.

                                          s/Geoffrey C. Klingsporn
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                                    CERTIFICATE OF SERVICE

       I certify that on this 18th day of September 2018, I electronically filed the foregoing
   DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTION TO AMEND THE FINAL
   PRETRIAL ORDER with the Clerk of the Court using the CM/ECF system which will send
   notification of such filing to the following:

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